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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

Holding a Criminal Term

Grand Jury Sworn in on February 8, 1984

UNITED STATES oF AMERICA. CRIMINAL NO.: ’35-0{}033

v. :

GRAND JURY ORIGINAL

GEORGE A. NADER

VIOLATION: 18 U.S. COde
Section 1461

 

(Mailing Obscene Matter)

18 U.S. Code
Section 1462
;LLAW%lJH (Importation of Obscene Matter)

18 U.S. Code
Section 2

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INDICTMENT JANQBHSS

The Grand Jury Charges: cLERK, U- S. D|STR|CT COURT
DlSTRlCT OF COLUMBIA

 

 

COUNT ONE

Between on or about March 27, 1984, and on or about April 12,
1984, within the District of Columbia, GEORGE A. NADER, knowingly
did use and caused to be used the mails for the mailing, carriage in
the mails and delivery of certain non-mailable matter that is a
certain envelope addressed to Mr. S. Nader, c/o International
Insight, 2019 Connecticut Avenue, N.W., Washington, D.C., containing
copies of obscene, lewd, lascivious and filthy magazines, pictures
and films, commonly known as "child pornography".

(Violation of Title 18, U.S. Code, Sections 1461 and 2).

OR\G!E§§§

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ngNT Two

On or about March 27, 1984, within the District of Columbia,
GEORGE A. NADER, did knowingly bring and cause to be brought into
the United States certain non-importable matter, that is, certain

obscene, lewd, lascivious and filthy magazines, pictures and films,

commonly known as "child pornography".

(Violation of Title 18, U.S. Code, Sections 1462 and 2).

QMZWM

FOREPERSON .

Attorney of the United States
and for the District of Columbia

